        Case 3:17-cv-00072-NKM-JCH Document 913 Filed 12/18/20 Page 1 of 1 Pageid#: 15640
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                                                               James E. Kolenich/Kolenich Law Office              513-444-2150
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    12/18/2020                                                 /s/ James E. Kolenich
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              Ifyouhaveanyquestions,pleasecontactthecourtreportercoordinatorat(434)847Ǧ5722
              orbyemailto̷Ǥ ǤǤ

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